
703 S.E.2d 738 (2010)
STATE of North Carolina
v.
Tyrone Matthew DELGADO.
No. 280P10.
Supreme Court of North Carolina.
November 4, 2010.
Ann B. Petersen, Chapel Hill, for Tyrone Matthew Delgado.
Amy Kunstling Irene, Assistant Attorney General, for State of N.C.

ORDER
Upon consideration of the petition filed on the 6th of July 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 4th of November 2010."
